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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                        Richmond Division



BRUCE HERDT,

                       Plaintiff,

v.                                                            Civil Action No. 3:H-cv-00235

GC SERVICES LIMITED
PARTNERSHIP,

                       Defendant.


                                             ORDER


        This matter comes before the Court on the plaintiffs filing of a notice of settlement. (Dk.

No. 8.) Based upon the plaintiffs representation that the parties have settled this matter, the

Court cancels the pretrial conference currently scheduled for July 16, 2014.            The Court

DIRECTS the parties to file a stipulation of dismissal with this Court no later than August 25,

2014.


        It is so ORDERED.


        Let the Clerk send a copy to all counsel of record.

Date: June ^ . 2014
Richmond, VA
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                                                       John A. Gibney.
                                                                ribney. <fr.J
                                                       United States District Judge
